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                 Exhibit 5
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                               DEPARTMENT OF THE TREASURY
                                  Internal Revenue Service
                                    Criminal Investigation

                                Memorandum of Conversation

Investigation #:          1000283711             Location: Conference Call
Investigation Name:       Carl Allen Ferrer
Date:                     June 11, 2019
Time:                     About 11:17 a.m.-3:00
                          p.m.
Participant(s):           Carl Ferrer, Former CEO, Backpage.com
                          Jonathan Baum, Counsel to Ferrer
                          Kevin Rapp, Asst U.S. Attorney
                          Angela Schuetta, Paralegal, U.S. Attorney’s Office (present for 1st hour)
                          Richard Robinson, Special Agent



    [This MOI version includes changes proposed in the December 3, 2019 Interview.]

    On the above date, the above-named parties called in for a pre-arranged conference
    call. Portions of some documents were read to Carl Ferrer (FERRER) over the phone,
    but FERRER did not have the documents to review during the call. FERRER provided
    the following information regarding Don Moon (MOON) and others involved with
    Backpage.com (Backpage):



    MOON’S Early Involvement with Backpage
       1. MOON became involved in Backpage’s business affairs during the time when
          Ed McNally and Hemu [Hemanshu Nigam] were providing services for
          Backpage. MOON just seemed to insert himself into the mix of advisors.
               a. After that, MOON took on something of an alpha role among the
                  advisors, like a chairman.
               b. McNally understood that MOON had a lot of influence.
       2. They would hear from MOON and from Jed Brunst (BRUNST) in terms of who
          among the lawyers and advisors would get paid.
               a. Early on there would be invoices and they wouldn’t make payments
                  without an invoice.
               b. Later on payments to law firms were all retainers. Backpage staff would
                  be told to send a check to a given law firm.
       3. After the sale, the sellers would sometimes count these sizable payments to law
          firms as principal payments, but they usually would not. FERRER has

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           documents that would let him know exactly which payments were counted as
           principal payments.
       4. MOON would often tell FERRER how hard it was for MOON to negotiate with
          Jim Larkin (LARKIN) and how MOON felt that LARKIN undervalued MOON’S
          contributions.
       5. MOON often referred to himself as someone who had a good understanding of
          the legal environment and good business sense.
       6. Backpage received invoices from MOON for services rendered. Backpage
          would have issued a Forms 1099 for the payments made to MOON.
       7. Backpage’s business department perceived Liz McDougall (McDougall) as
          working for Backpage even though she was paid as a contractor.
               a. When McDougall was hired, Backpage was looking for someone to
                  handle all things for Backpage, including hiring attorneys for cases.
                  McDougall had some involvement in that, but MOON took over the hiring
                  of attorneys.
               b. McDougall was to be Backpage’s counsel, but MOON didn’t feel that she
                  was up to the challenge.
       8. At times, McDougall and Jim Grant could barely talk on a civil basis. Grant
          reported to MOON.
       9. By 2012, McDougall reported to MOON. MOON was running the legal strategy
          by that time. McDougall did not report to FERRER.
       10. LARKIN was not happy with McDougall. When they first received a grand jury
           subpoena from the Western District of Washington McDougall expressed that
           she may need her own attorney. This cause LARKIN to ask ‘What kind of
           attorney is she?’
       11. McDougall would say that MOON is a blow-hard and a bully.
               a. MOON didn’t care for McDougall very much. He downplayed her
                  contribution and shut her out.
               b. She was aware that she was being shut out. FERRER thinks that
                  McDougall put up with this and stayed because the money was still
                  pretty good.



   Marking Documents as Privileged
       12. Around 2012, Liz McDougall had advised FERRER to start documents with
           headings or phrases such as “Questions for Counsel,” “Legal Opinion,” or
           “Privileged.”
               a. Several documents often had no counsel involved, but were labeled that
                  way. It was just a way to protect the documents.
               b. This began around the time that the federal grand jury investigation in

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